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IN THE UNITED sTATEs DisTRICT CoURT05 fe 0
FoR THE wEsTERN DISTRICT oF TENNESSEE"UL 13 4 '°`-
EASTERN DivlsIoN 115 ” 6’-'3,
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UNITED sTATEs oF AMERICA, ll “g€»"”~?d/\/DU”W
Piaintiff,

Civ. No. 04-]302-T/An

VS. Crim. No. 02-10007-l-T

JACK RAY AUSTIN,

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Defendant.

 

ORDER DENYING MOTION FOR RECUSAL

 

Defendant Jack Ray Austin filed a pro Se motion pursuant to 28 U.S.C. § 2255 on
November 17, 2004. On June 22, 2005, the Court entered an order denying the motion as
time-barred; judgment was entered on June 24, 2005. On June 29, 2005, defendant filed a
document titled “Af`fidavit of Bias and Prejudice of and by Judge J ames D. Todd,” in which
he seeks recusal of the undersigned judge

Def`endant complains that his § 2255 motion was filed on January 20, 2005,l and that
the Court failed to follow Rule 4 of the Ru]es Governing § 2255 Cases, which requires the

Court to “promptly” examine the motion to determine whether a response is required from

 

l Defendant states that his motion was filed on January 20, 2005. On January 24, 2005, the Clerl< of
Court did receive and file a duplicate copy of` the motion originally received and filed on November ]7, 2004. The
motion was docketed as a new case, #05-]0 l 6; however, on June ]0, 2005, the Court entered an order
administratively closing the case as duplicative of the earlier motion docketed as #04-1302.

Thls document entered on the docket shea l prqp ' nce
with Fiule 58 and,'or_79 (a) FRCP on l l l il lb 12

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the United States. Defendant contends that this judge has neglected his office and failed to
act in good faith.

As a practical matter, the motion for recusal is now moot because the Court has issued
a ruling in this case. However, as there is a remote possibility that the defendant could file
an appeal and succeed in having the case reversed and/or remanded, the Court briefly will
address the motion for recusal on the merits.

Pursuant to 28 U.S.C. § 1441

Whenever a party to any proceeding in a district court makes and files a timely
and sufficient affidavit that the judge before whom the matter is pending has
a personal bias or prejudice either against him or in favor of any adverse party,
such judge shall proceed no further therein, but another judge shall be
assigned to hear such proceeding

In addition, 28 U.S.C. § 455(a) provides that a judge shall disqualify himself “in any
proceeding in which his impartiality might reasonably be questioned.” Circumstances under
which a judge must disqualify himself include:

(l) Where he has a personal bias or prejudice concerning a party, or
personal knowledge of disputed evidentiary facts concerning the
proceedings;

(2) Where in private practice he served as lawyer in the matter in
controversy, or a lawyer with whom he previously practiced law served
during such association as a lawyer concerning the matter, or the judge
or such lawyer has been a material witness concerning it;

(3) Where he has served in governmental employment and in such capacity
participated as counsel, adviser, or material witness concerning the
proceeding or expressed an opinion concerning the merits of the
particular case . . . ;

(4) He knows that he . . . has a financial interest in the subject matter in
controversy;

(5) He or his spouse . . . :

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(i) ls a party to the proceeding . . . ;
(ii) ls acting as a lawyer in the proceeding;
(iii) 1s known by the judge to have an interest that could be substantially
affected by the outcome of the proceeding;
(iv) ls to the judge’s knowledge likely to be a material witness in the
proceedingl
28 U.S.C. §455(b).

A judge must recuse himself if, knowing all the circumstances, a reasonable,
objective person would question thejudge’s impartiality U.S. v. Sammons, 918 F.2d 592,
599 (6th Cir. 1990) (citations omitted). “The standard is an objective one; hence, thejudge
need not recuse himself based on the ‘subj ective view of a party’ no matter how strongly that
view is held.” I_d. (citations omitted). Bias sufficient to justify recusal must be personal,
arising out ofthejudge’s background, and not based on the judge’ s interpretation of the law.
Browning v. Foltz, 837 F.2d 276, 279 (6"1 Cir. 1988). A judge’s participation in the
proceedings or prior contact with related cases cannot support a demand for recusal.
Sammons, 918 F.2d at 599. Sections 144 and 455 are to be read in pari materia to require
that disqualification be predicated upon extrajudicial conduct, rather than judicial conduct,
and to require that the alleged bias and prejudice be personal rather than judicial.?' Davis v.
C.I.R., 734 F.2d 1302, 1303 (8th Cir. 1984); Shaw v. Martin, 733 F.2d 304, 308 (4"1 Cir.

1984); United States v. Carmichael. 726 F.2d 158, 160 (4“' Cir. 1984); United States v.

Sto;y, 716 F.2d 1088, 1096 (6th Cir. 1983). Ajudge is presumed to be impartial, and a party

 

2 The Supreme Court has held that § 455(b)’s “extrajudicial source” doctrine also applies to§ 455(a).
Liteky v. United States, 114 S. Ct. at 1147 (1994).

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seeking disqualification bears the burden of alleging facts that would lead a reasonable
person to question the neutrality of the judge. United States v. Adams, 3 8 F.3d 1217, 1994
WL 589509 (6th Cir. 1994) (citing Holt V. KMI Continental. lnc.1 821 F. Supp. 846, 847 (D.
Conn. 1993)).

In this case, the defendant contends only that the Court did not rule quickly enough
on his § 2255 motion. Thus, the asserted reason for recusal is based on judicial conduct,
rather than extrajudicial conduct or personal bias. Defendant has alleged no facts
whatsoever that would lead a reasonable, objective person to question this judge’s
impartiality in this matter.

Defendant’s motion for recusal is DENIED.

IT IS SO ORDERED.

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JAM D. ToDD
uNrr D sTATEs DlsTRiCT JUDGE

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DATE

       

UNITED Es DISTRICT oURT - wEsTER ISRICToF TNNESSEE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 1:04-CV-01302 was distributed by fax, mail, or direct printing on
July 19, 2005 to the parties listed.

 

 

.1 ack Ray Austin

FEDERAL CORRECTIONAL INSTITUTION
18877-076

P. O. Box 34550

1\/1emphis7 TN 38134--055

Honorable .1 ames Todd
US DISTRICT COURT

